Case 1:22-cv-20707-JEM Document 75 Entered on FLSD Docket 04/24/2023 Page 1 of 3




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 22-CV-20707-JEM/BECERRA

  In re: Application Pursuant to
  28 U.S.C.§ 1782 of

  FARHAD AZIMA

                  Petitioner,

  v.

  INSIGHT ANALYSIS AND RESEARCH, LLC, and
  SDC-GADOT, LLC,

              Respondents.
  ______________________________________________/

           REPLY TO RESPONDENTS’ OPPOSITION TO MOTION TO COMPEL
                          COMPLIANCE WITH D.E. 62

          Petitioner Farhad Azima hereby files this reply to Respondents’ opposition to his motion

  to compel Respondents to produce documents (see D.E.s 73 and 74). For more than a year,

  Petitioner has sought to obtain from Respondents documents within their possession that are

  relevant and responsive to the underlying proceeding in the U.K. and lawful subpoenas issued. 1

  At this juncture, and as explained in the Motion (D.E. 73 at 3-4), Petitioner is simply requesting

  that the Court order Respondents to submit an affidavit to the Court advising what measures they

  took to comply with the Court’s order (D.E. 62) that they search for and produce documents.

          Given the background of this matter, that request is more than reasonable. Indeed,

  Respondents have fought against producing any meaningful discovery from the very beginning of



  1 Contrary to Respondents’ allegations, Petitioner is not seeking documents in bad faith, maliciously, or
  without merits. The Rule 30(b)(6) depositions of Insight and Gadot demonstrated that the Respondents
  have information and documents relevant to the underlying U.K. proceeding, as described below and in
  prior filings.


                                                     1
                                                                                                    2818214.1
Case 1:22-cv-20707-JEM Document 75 Entered on FLSD Docket 04/24/2023 Page 2 of 3




  these proceedings. Moreover, there has been a track record of non-compliance by Respondents.

  For example, Respondents claimed they had no responsive documents to produce in response to

  subpoenas issued, but during depositions of the corporate representative, Amit Forlit, Mr. Forlit

  brought various documents with him and mentioned the existence of others. See, e.g., D.E. 47-1,

  Tr. 15:2-16:7 (Forlit reviewed bank accounts and invoices prior to deposition); 36:4-10 (Forlit

  reviewed travel records prior to deposition); 44:9-45:9; 71:17-23 (admitting using email addresses

  “associated with SDC-Gadot”); D.E. 47-2, Tr. 124:12-125:10 (regarding use of messaging

  applications); 163:2-6 (“[W]e had problems with money transfers and [] we sometimes made all

  sorts of engagements in order to resolve that problem.”)         As such, it became clear that

  Respondents’ prior representations that they had no relevant documents was inaccurate.

         Respondents’ Opposition seems to concede that Respondents took no steps to search for

  documents, emails, and messages as ordered by the Court in D.E. 62. They argue that

  “Respondents are non-operational entities, with no employees, no e-mail accounts, and no

  computer hardware. Given this, Petitioner’s ‘search terms’ cannot produce any documents, as no

  documents exist to be produced and no accounts or hardware exist to be ‘searched.’” D.E. 74, at

  ¶ 7. But at the Rule 30(b)(6) depositions, Forlit testified that he used the email addresses

  amit@gadot.co and amit001@me.com and also communicated with messaging applications such

  as Signal. See, e.g., D.E. 47-1, Tr. 71:16-72:2; D.E. 47-2, Tr. 123:16-125:10.

         Petitioner is not requesting that Respondents create documents that do not exist – or locate

  ones that are not readily available or accessible to them. However, Respondents have an obligation

  to conduct a meaningful search for responsive materials and should be able to easily advise the

  Court as to what steps they have done to comply. Respondents blanket statement that there are no

  documents is insufficient. The Court should order that Respondents explain what devices and



                                                  2
                                                                                              2818214.1
Case 1:22-cv-20707-JEM Document 75 Entered on FLSD Docket 04/24/2023 Page 3 of 3




  accounts they searched, what search terms they used, and the number of hits for each search term,

  so that Petitioner and the Court can determine whether they have conducted good-faith searches.


                                               Respectfully submitted,

  Dated: April 24, 2023
                                               s/ Vanessa Singh Johannes
                                               Vanessa Singh Johannes (FBN 1028744)
                                               E-mail: VJohannes@carltonfields.com
                                               CARLTON FIELDS P.A.
                                               700 N.W. 1st Avenue, Suite 1200
                                               Miami, Florida 33136-4118
                                               Telephone: (305) 539-7358

                                               s/ Calvin Lee
                                               Calvin Lee (admitted pro hac vice)
                                               MILLER & CHEVALIER CHARTERED
                                               900 16th Street, NW
                                               Washington, D.C. 20006

                                               Counsel for Petitioner


                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 24, 2023, a true and correct copy of the foregoing document

  was filed via CM/ECF and served on counsel for the Respondents named in this matter,

  Christopher S. Salivar and Elan I. Baret, via such means.



                                                       s/ Vanessa Singh Johannes
                                                        Vanessa S. Johannes




                                                  3
                                                                                            2818214.1
